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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         UNITED STATES OF AMERICA
                                   7                                                       Case No. 21-CR-0429 YGR
                                                       Plaintiff,
                                   8
                                                 v.                                        ORDER DEEMING BRIEFING ON MOTION
                                   9                                                       FOR NEW TRIAL SUBMITTED
                                         RAY GARCIA,
                                  10
                                                       Defendant.
                                  11

                                  12          Defendant Ray J. Garcia filed a motion for new trial on February 2, 2023. (See Dkt. No.
Northern District of California
 United States District Court




                                  13   135.) On December 19, 2022, the Court held a status conference to set a briefing schedule on the

                                  14   anticipated motion. (Dkt. No. 125.) The government’s opposition deadline was set for February

                                  15   23, 2023, and the reply deadline was set for March 2, 2023. As demonstrated by the docket, the

                                  16   government has timely opposed. No response has been timely submitted by the defendant.

                                  17          In light of the foregoing, the Court deems the briefing submitted unless the defendant files

                                  18   a reply by 12:00 p.m. on Monday, March 6, 2023.

                                  19          IT IS SO ORDERED.

                                  20   Dated: March 3, 2023

                                  21                                                  ______________________________________
                                                                                            YVONNE GONZALEZ ROGERS
                                  22                                                   UNITED STATES DISTRICT COURT JUDGE
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